 USCA11 Case: 21-14509           Document: 38-2         Date Filed: 06/23/2023       Page: 1 of 2


                          UNITED STATES COURT OF APPEALS
                             FOR THE ELEVENTH CIRCUIT
                             ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                           56 Forsyth Street, N.W.
                                           Atlanta, Georgia 30303

David J. Smith                                                                      For rules and forms visit
Clerk of Court                                                                      www.ca11.uscourts.gov


                                          June 23, 2023

MEMORANDUM TO COUNSEL OR PARTIES

Appeal Number: 21-14509-AA
Case Style: Travelers Property Casualty Company of America v. Ocean Reef Charters LLC
District Court Docket No: 9:18-cv-81270-RAR

All counsel must file documents electronically using the Electronic Case Files ("ECF") system,
unless exempted for good cause. Although not required, non-incarcerated pro se parties are
permitted to use the ECF system by registering for an account at www.pacer.gov. Information
and training materials related to electronic filing are available on the Court's website.
Enclosed is a copy of the court's decision filed today in this appeal. Judgment has this day been
entered pursuant to FRAP 36. The court's mandate will issue at a later date in accordance with
FRAP 41(b).

The time for filing a petition for rehearing is governed by 11th Cir. R. 40-3, and the time for
filing a petition for rehearing en banc is governed by 11th Cir. R. 35-2. Except as otherwise
provided by FRAP 25(a) for inmate filings, a petition for rehearing or for rehearing en banc is
timely only if received in the clerk's office within the time specified in the rules. Costs are
governed by FRAP 39 and 11th Cir.R. 39-1. The timing, format, and content of a motion for
attorney's fees and an objection thereto is governed by 11th Cir. R. 39-2 and 39-3.

Please note that a petition for rehearing en banc must include in the Certificate of Interested
Persons a complete list of all persons and entities listed on all certificates previously filed by
any party in the appeal. See 11th Cir. R. 26.1-1. In addition, a copy of the opinion sought to be
reheard must be included in any petition for rehearing or petition for rehearing en banc. See
11th Cir. R. 35-5(k) and 40-1 .

Counsel appointed under the Criminal Justice Act (CJA) must submit a voucher claiming
compensation for time spent on the appeal no later than 60 days after either issuance of mandate
or filing with the U.S. Supreme Court of a petition for writ of certiorari (whichever is later) via
the eVoucher system. Please contact the CJA Team at (404) 335-6167 or
cja_evoucher@ca11.uscourts.gov for questions regarding CJA vouchers or the eVoucher
system.

Pursuant to Fed.R.App.P. 39, costs taxed against the appellant.
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Please use the most recent version of the Bill of Costs form available on the court's website at
www.ca11.uscourts.gov.

Clerk's Office Phone Numbers
General Information: 404-335-6100          Attorney Admissions:         404-335-6122
Case Administration: 404-335-6135          Capital Cases:               404-335-6200
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                                                       OPIN-1A Issuance of Opinion With Costs
